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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS


                             CRIMINAL NO. 09-10314-RWZ


                             UNITED STATES OF AMERICA

                                             v.

                                   PHILIP E. WATSON

                                         ORDER

                                    February 26, 2013


ZOBEL, D.J.

       Defendant was sentenced to a term of imprisonment of 30 months after he pled

guilty to drug charges. During his incarceration he participated in and completed the

500 Hour Residential Drug Abuse Program offered by the Bureau of Prisons (“BOP”)

and expected to be rewarded with early release as a result. The BOP determined,

however, that he does not qualify for early release. Its regulations state at 28 C.F.R. §

550.55(b)(6) that inmates are not eligible for early release if they have been convicted

of an attempt, conspiracy, or other offense which involved an underlying offense listed

in paragraph (b)(4) or (b)(5) of that section. Paragraph (b)(4) lists robbery.

       Defendant has submitted a “Motion to Clarify Judgment,” asking this court to

inform the BOP that his previous conviction in Criminal No. 01-10122 does not

disqualify him from early release. Defendant was convicted in that case of violating 18

U.S.C. § 371 (conspiracy), 18 U.S.C. § 1951 (conspiracy to obstruct commerce by

robbery or extortion), and 18 U.S.C. § 1952 (interstate travel in aid of racketeering).
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      Defendant correctly notes that robbery is not a necessary element of his

conviction under 18 U.S.C. § 1951. A conviction under that statute can rest on an

underlying extortion (or planned extortion) alone; it does not require a robbery (or

planned robbery). In his particular case, defendant’s indictment charged him in a single

count with violating 18 U.S.C. § 1951 by conspiring to obstruct commerce both by

extortion and by robbery. The jury convicted him on that count without specifying

whether their verdict rested on the planned extortion or the planned robbery (or both).

The facts adduced at trial could have supported either theory (or both).

      It is not clear on these facts whether 28 C.F.R. § 550.55(b)(6) applies to

defendant’s previous conviction or not. But in either case, nothing remains to be

clarified about this court’s previous judgment. Defendant’s motion (Docket # 104) is

therefore DENIED.



      February 26, 2013                                  /s/Rya W. Zobel

          DATE                                          RYA W. ZOBEL
                                                UNITED STATES DISTRICT JUDGE




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